                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In re:                                                   Chapter 13
                                                         Case No. 24-41956-MAR
BRANDON HEITMANN,                                        Hon. Mark A. Randon

                Debtor.
                                      /
MOHAMED SAAD,

         Plaintiff,                                      Adv. Proc. 24-04375-mar
                                                         Hon. Mark A. Randon
v.

BRANDON HEITMANN,

         Defendant.
                                  /

                           DEFENDANT’S ANSWER TO FIRST
                               AMENDED COMPLAINT

         Brandon Heitmann, Defendant (“Defendant”), by and through his counsel, KOTZ

SANGSTER WYSOCKI, P.C., and in answer to Plaintiff’s First Amended Complaint,

states as follows:

         1.     Admitted.

                                          Jurisdiction

         2.     Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.


                                                1
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      3.     Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      4.     Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

                                       Parties

      5.     Neither admitted nor denied as Defendant lacks the requisite information

and/or belief to admit or deny this allegation and Defendant leaves Plaintiff to his

proofs.

      6.     Admitted.

      7.     Admitted.

                                  Factual Statement

      8.     Admitted.

      9.     Admitted.

      10.    Denied as stated. Exigent was engaged in designing and installing outdoor

landscapes, including pools.

      11.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      12.    Denied as stated. Plaintiff makes numerous allegations which contain

overly broad statements regarding operations and unspecified non-exhaustive “catch-

all” statements with respect to Heitmann’s responsibilities.

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      13.   Denied.

      14.   Admitted in part. The parties entered into a contract modification on or

about August 5, 2022. To the extent not admitted, Defendant denies.

      15.   Admitted.

      16.   Admitted.

      17.   Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      18.   Denied as stated.

      19.   Denied as stated.

      20.   Admitted      only   that      the   referenced   number     is Exigent’s

identification number with LARA.

      21.   Denied for the reason that the allegations in this Paragraph are untrue.

      22.   Denied for the reason that the allegations in this Paragraph are untrue.

      23.   Denied for the reason that the allegations in this Paragraph are untrue.

      24.   Denied for the reason that the allegations in this Paragraph are untrue.

      25.   Denied for the reason that the allegations in this Paragraph are untrue.

      26.   Neither admitted nor denied as Defendant lacks the requisite information

and/or belief to admit or deny this allegation and Defendant leaves Plaintiff to his

proofs.

      27.   Denied for the reason that the allegations in this Paragraph are untrue.

      28.   Denied for the reason that the allegations in this Paragraph are untrue.

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      29.    Denied for the reason that the allegations in this Paragraph are untrue.

      30.    Denied for the reason that the allegations in this Paragraph are untrue.

      31.    Denied for the reason that the allegations in this Paragraph are untrue.

      32.    Denied for the reason that the allegations in this Paragraph are untrue.

      33.    Denied as to Plaintiff’s allegations regarding Defendant Heitmann’s and

Exigent’s conduct for the reason that the allegations in this Paragraph are untrue.

Answering further, neither admitted nor denied as to the allegation regarding Michigan

statutory law on the basis that these allegations contain legal conclusions or statements

to which no response is required.

      34.    Denied for the reason that the allegations in this Paragraph are untrue.

      35.    Denied for the reason that the allegations in this Paragraph are untrue.

      36.    Denied for the reason that the allegations in this Paragraph are untrue.

      37.    Denied for the reason that the allegations in this Paragraph are untrue.

Answering further, neither admitted nor denied as to Plaintiff’s reference to MCL §

600.2919a on the basis that this allegation contains legal conclusions or statements to

which no response is required.

      38.    Denied for the reason that the allegations in this Paragraph are untrue.

Answering further, neither admitted nor denied as to Plaintiff’s reference to Michigan

statutory and case law on the basis that this allegation contains legal conclusions or

statements to which no response is required.

      39.    Neither admitted nor denied on the basis that this allegation contains legal

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conclusions or statements to which no response is required.

      40.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      41.    Admitted in part and denied in part as parties other than Defendant had

access to Exigent’ s bank accounts.

      42.    Admitted that Defendant was authorized to sign checks on behalf of

Exigent, denied as stated because the allegation is overbroad as it relates to this

particular project.

      43.    Admitted that Defendant signed checks on behalf of Exigent, denied as

stated because the allegation is overbroad as it relates to this particular project.

      44.    Admitted that Defendant made some financial decisions, denied as state

because the allegation is overbroad as it relates to this particular project.

      45.    Denied as stated for the reason it is untrue, Exigent’s project managers

and/or CFO, not Defendant were responsible for the alleged on this Project.

      46.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      47.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      48.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      49.    Denied for the reason that it is untrue.

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      50.    Denied for the reason that the allegations in this Paragraph are untrue.

      51.    Denied with regard to allegations involving retention and expending of

trust funds for the reason that the allegations in this Paragraph are untrue. Neither

admitted nor denied with regard to the reference to the MBCFA on the basis that this

allegation contains legal conclusions or statements to which no response is required.

      52.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      53.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      54.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      55.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      56.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      57.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required. To the extent an answer is

required, denied for the reason that it is untrue.

      58.    Denied for the reason that the allegations in this Paragraph are untrue.

      59.    Denied with regard to the allegation that Defendant misappropriated trust

funds. Answering further, neither admitted nor denied with regard to the remaining

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allegations on the basis that these allegations contain legal conclusions or statements to

which no response is required.

       60.    Denied for the reason that the allegations in this Paragraph are untrue.

       61.    Denied for the reason that the allegations in this Paragraph are untrue.

       62.    Denied for the reason that the allegations in this Paragraph are untrue.

                                         Count 1
                                     Section 523(a)(2)

       63.    Defendant incorporates his responses numbered 1 - 62, supra, as though

fully set forth herein in full.

       64.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required. Answering further, denied

to the extent that Plaintiff implies that Defendant engaged in false pretenses, a false

representation, actual fraud, or intentional use of a materially false statement, with the

intent to deceive for the reason that the allegations in this Paragraph are untrue.

       65.    Denied for the reason that the allegations in this Paragraph are untrue.

       66.    Denied for the reason that the allegations in this Paragraph are untrue.

       67.    Denied for the reason that the allegations in this Paragraph are untrue.

       68.    Denied for the reason that the allegations in this Paragraph are untrue.

       69.    Denied for the reason that the allegations in this Paragraph are untrue.

       70.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

       71. Denied for the reason that the allegations in this Paragraph are untrue.
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      72.    Denied for the reason that the allegations in this Paragraph are untrue.

      WHEREFORE, Defendant respectfully requests that this Court dismiss

Plaintiff’s Complaint against him, award Defendant reasonable costs expenses and

attorneys’ fees incurred in this action, and award Defendant any such other and further

relief that it deems appropriate.

                                            Count 2
                                        Section 523(a)(4)

      73.    Defendant incorporates his response number 1 – 72, supra, as though fully

set forth herein.

      74.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required. Answering further, denied

to the extent that Plaintiff implies that Defendant engaged in fraud or defalcation while

acting in a fiduciary.

      75.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      76.    Denied for the reason that the allegations in this Paragraph are untrue.

      77.    Denied for the reason that the allegations in this Paragraph are untrue.

      WHEREFORE, Defendant respectfully requests that this Court dismiss

Plaintiff’s Complaint against him, award Defendant reasonable costs expenses and

attorneys’ fees incurred in this action, and award Defendant any such other and further

relief that it deems appropriate.


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                                      Count 3
                       Statutory Conversion M.C.L. § 600.2919a

      78.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      79.    Denied for the reason that the allegations in this Paragraph are untrue.

      80.    Denied for the reason that the allegations in this Paragraph are untrue.

      81.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      82.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      83.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      WHEREFORE, Defendant respectfully requests that this Court dismiss

Plaintiff’s Complaint against him, award Defendant reasonable costs expenses and

attorneys’ fees incurred in this action, and award Defendant any such other and further

relief that it deems appropriate.

                                            Count 4
                                        Section 523(a)(6)

      84.    Defendant incorporates his response number 1 – 83, supra, as though fully

set forth herein.

      85.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

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      86.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      87.    Neither admitted nor denied on the basis that this allegation contains legal

conclusions or statements to which no response is required.

      88.    Denied for the reason that the allegations in this Paragraph are untrue.

      WHEREFORE, Defendant respectfully requests that this Court dismiss

Plaintiff’s Complaint against him, award Defendant reasonable costs expenses and

attorneys’ fees incurred in this action, and award Defendant any such other and further

relief that it deems appropriate.



                                              Respectfully submitted,

                                               KOTZ SANGSTER WYSOCKI P.C.

                                               /s/ Tyler P. Phillips
                                               By: Tyler P. Phillips (P78280)
                                               Co-Counsel for Defendant
                                               400 Renaissance Center, Ste. 3400
                                               Detroit, MI 48243
Dated: April 29, 2025                          (313) 259-8300 / (313) 259-1451
                                               tphillips@kotzsangster.com




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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

IN RE:
                                                  Case No. 24-41956-mar
BRANDON HEITMANN,                                 Chapter 7
                                                  Hon. Mark A. Randon
     Debtor.
                           /
MOHAMED SAAD,

     Plaintiff,                                   Adv. Pro. No. 24-04375-mar
                                                  Hon. Mark A. Randon
v.

BRANDON HEITMANN,

    Defendant.
________________________/

                               CERTIFICATE OF SERVICE

       I hereby certify that on April 29, 2025, I electronically served the foregoing
paper(s) with the Clerk of the Court using the ECF system, which will send notification
of such filing to the Office of the United States Trustee and all those listed by the Court
as receiving electronic notices in this case from the Court’s CM/ECF system.

                                           Respectfully submitted,

                                           KOTZ SANGSTER WYSOCKI P.C.

                                           /s/ Tyler P. Phillips
Dated: April 29, 2025                      By: Tyler P. Phillips (P78280)
                                           Attorneys for Brandon Heitmann
                                           400 Renaissance Center, Suite 3400
                                           Detroit, MI 48243
                                            (313) 259-8300 / (313) 259-1451
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